             Case 2:25-cv-02261-AB              Document 3          Filed 05/05/25         Page 1 of 1


                                     United States District Court
                                    Eastern District of Pennsylvania
                       NOTICE OF PROCEDURE TO CONSENT TO
                  REFERENCE OF CIVIL ACTION OR PROCEEDING TO A
                      RANDOMLY ASSIGNED MAGISTRATE JUDGE


1.             When authorized under 28 U.S.C. § 636(c), a magistrate judge may, if all parties
        consent, and if it is approved by the district judge to whom the case is assigned, conduct
        a civil action or proceeding, including a jury or non-jury trial or proceeding [Fed. R.
        Civ. P. 73(a); Local R. Civ. P. 72.1 III.(b)]. If all parties consent to reference of a civil
        action or proceeding to a magistrate judge, one will be assigned at random in accordance
        with this court’s case assignment procedures.

2.            A party is free to withhold consent to referral to a randomly assigned magistrate
        judge without adverse substantive consequences [Fed. R. Civ. P. 73(b)(2)].

3.              No action eligible for arbitration will be referred to a magistrate judge until the
        arbitration has been concluded and trial de novo demanded [Local R. Civ. P. 53.2.7.].

4.            The Court may, for good cause shown, on its own motion, or under extraordinary
        circumstances shown by any party, vacate a reference of a civil matter or proceeding to
        a magistrate judge [Fed. R. Civ. P. 73(b)(3)].

5.             When a case is referred to a magistrate judge to conduct a civil action or
        proceeding, including the entry of final judgment, the final judgment may be taken
        to the United States court of appeals in the same manner as an appeal from any other
        judgment of a district court [Fed. R. Civ. P. 73(c)].


                                                                    JUAN R. SÁNCHEZ
                                                                    CHIEF JUDGE


                                                                    GEORGE WYLESOL
                                                                    CLERK OF COURT


*This Notice is being given pursuant to 28 U.S.C. § 636(c), Fed. R. Civ. P. 73 and Local R.Civ. P. 72.1, 53.2.
